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1                                UNITED STATES DISTRICT COURT

2                                      DISTRICT OF NEVADA

3      ALTERNATIVE PETROLEUM, et al.
4                                                       3:20-cv-0040-MMD-CLB
                                   Plaintiffs,
5         v.
                                                        ORDER
6      PATRICK GRIMES,
7
                                 Defendant.
8

9           On October 5, 2020, this court granted Clayton Brust, Esq.’s motion to withdraw as

10   local counsel for plaintiffs (ECF No. 26). Jovan Jovanovic, Esq. of Hudsonville, MI remains

11   lead counsel for plaintiffs. (Id.) Plaintiffs were ordered to obtain local counsel pursuant to

12   LR IA 11-2(d) within fourteen days. (Id.) To date, no local counsel has been designated.

13          Therefore, plaintiffs shall have to and including Friday, November 13, 2020 to obtain

14   local counsel and file a designation of resident counsel on the form provided by the Clerk

15   pursuant to LR IA 11-2(d). If plaintiffs fail to do so, the court will enter a report and

16   recommendation that this case be dismissed or enter other sanctions as appropriate for

17   failure to comply with the Local Rules of this Court. LR IA 11-2(e) and LR IA 11-8.

18
19           October 27, 2020
     DATED: __________________.

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                                                 UNITED STATES MAGISTRATE JUDGE
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